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                              THE UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION


                                                                     §
In re:                                                               §             Chapter 11
                                                                     §
ERIN ENERGY CORPORATION, et al.,                                     §             Case No. 18-32106
                                                                     §
                                                                     §             (Jointly Administered)
                   Debtors.1                                         §
                                                                     §

    MOTION OF PUBLIC INVESTMENT CORPORATION SOC LTD. FOR DISMISSAL,
                       ABSTENTION, OR CONVERSION
                   UNDER 11 U.S.C. § 305 (A)(1) AND 1112(B)


         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
         OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN WRITING,
         SPECIFICALLY ANSWERING EACH PARAGRAPH OF THIS PLEADING. UNLESS
         OTHERWISE DIRECTED BY THE COURT, YOU MUST FILE YOUR RESPONSE
         WITH THE CLERK OF THE BANKRUPTCY COURT WITHIN TWENTY-FOUR (24)
         DAYS FROM THE DATE YOU WERE SERVED WITH THIS PLEADING. YOU MUST
         SERVE A COPY OF YOUR RESPONSE ON THE PERSON WHO SENT YOU THE
         NOTICE; OTHERWISE, THE COURT MAY TREAT THE PLEADING AS UNOPPOSED
         AND GRANT THE RELIEF REQUESTED.

         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE MARVIN ISGUR,
UNITED STATES BANKRUPTCY JUDGE:

                   Public Investment Corporation Soc. Ltd. (PIC) respectfully files this motion

seeking dismissal or abstention pursuant to section 305 of the Bankruptcy Code or dismissal or

conversion pursuant to section 1112(b) (the Motion).

                   In support thereof, PIC respectfully states as follows:




1
         The last four digits of Erin Energy Corporation’s (ERN) federal tax identification number are 9798. The other Debtors in these cases
         are: Erin Energy Limited (EEL); Erin Energy Kenya Limited (EEKL); and Erin Petroleum Nigeria Limited (EPNL). The Debtors’
         service address is: 1330 Post Oak Blvd., Suite 2250, Houston, Texas 77056.


NY:31948441.18
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                                 PRELIMINARY STATEMENT

               1.      The creditors of these Debtors and the Court have been relegated to mere

spectators of the Debtors’ Nigerian litigation, with this Court having no role in the outcome,

timing, or prospects thereof. In these circumstances, the automatic stay or a discharge is of no

meaning, creditors who respect the stay or a discharge will be disadvantaged to those who do

not, and there is no legitimate business reason for a bankruptcy proceeding where the Court will

not have a role in determining ownership or distribution of the key assets of the estates. The

attendant value destruction should not be countenanced, and the Court should dismiss these

cases.

               2.      Section 1112(b) of the Bankruptcy Code empowers a court to dismiss a

bankruptcy case, or alternatively to convert a chapter 11 case to one under chapter 7, where there

is substantial or continuing loss to the estate and the debtor does not have a reasonable likelihood

of rehabilitation. 11 U.S.C. § 1112(b). Section 305(a)(1) of the Bankruptcy Code likewise allows

a court to dismiss or suspend a bankruptcy case where “the interests of creditors and the debtor

would be better served by such dismissal or suspension.” 11 U.S.C. § 305(a)(1).

               3.      The Debtors currently have no operations or revenues, have no cash other

than cash collateral, and project expenses in the near term that total hundreds of thousands, if not

millions, of dollars. Against these costs, which may be understated, the Debtors’ prospects

appear to turn entirely on a series of contingencies that requires them, or perhaps other parties, to

prevail in litigation in Nigeria, resume use of an offtake vessel they have abandoned, and access

cash in the hands of a foreign creditor that has indicated it will not respect the jurisdiction of this

court. The Debtors are in such dire straits that they are willing to pay their offtakers $2.7 million

of PIC’s cash collateral to simply buy sixty additional days of life. Rampant speculation of this

kind at the expense of creditors is not a basis for rehabilitation that should be endorsed by this

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Court. PIC therefore respectfully requests that the above-captioned cases be dismissed or,

alternatively, that this Court abstain from further proceedings or convert the cases to chapter 7.

                                        JURISDICTION

               4.      The Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§

1334 and 157. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a core

proceeding under 28 U.S.C. § 157(b)(2). The statutory bases for the relief requested are sections

1112(b) and 305(a)(1) of the Bankruptcy Code.

                                        BACKGROUND

I.     The Debtors’ Cash Projections and Operational Contingencies

               5.      On May 4, 2018, the Debtors filed a motion (the Emergency Cash

Collateral Motion) [Dkt. No. 28], seeking, among other things, the authority to use

approximately $10 million in cash collateral currently on deposit with Mauritius Commercial

Bank Ltd (MCB). In connection with the Emergency Cash Collateral Motion, the Debtors filed a

13 Week Cash Forecast covering the period from April 30, 2018, through July 27, 2018 [Dkt.

No. 52-1] and a Monthly Cash Proforma covering the 8-month period from May 2018 through

December 2018 (the Cash Proforma) [Dkt. No. 52-6]. On May 28, 2018, the Debtors filed two

updated 13 Week Cash Forecasts covering the period through August 24, 2018. One of the two

forecasts is premised on the Debtors’ restarting their operations (the Restart Cash Forecast)

[Dkt. Nos. 141-4], while the other is not (the No Restart Cash Forecast) [Dkt. No. 141-3].

               6.      At the initial hearing on the Emergency Cash Collateral Motion on May 9,

2018 (the Interim Hearing), the Debtors presented testimony from Dippo Bello, the vice

president of financial planning and treasurer for ERN, and Loretta Cross, financial advisor to the

Debtors. Transcript of Oral Argument May 9, 2018, In re Erin Energy Corporation, et al., No.

18-32106 (Bankr. S.D. Tex. May 9, 2018) (May 9 Tr.). Additional testimony from Mr. Bello
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was presented at the second hearing on the Emergency Cash Collateral Motion on May 23, 2018

(the Second Hearing). In re Erin Energy Corporation, et al., No. 18-32106 (Bankr. S.D. Tex.

May 23, 2018) (May 23 Tr.).

               7.     The May 9 testimony from Ms. Cross indicated that the Cash Proforma

was intended to demonstrate the operating cash flow that could hypothetically be generated from

the Debtors’ operations in Nigeria. May 9 Tr. at 98. It excludes certain capital expenditures. May

9 Tr. at 98. More importantly, it is also premised on a number of significant assumptions that

will ultimately determine whether the Debtors are able to resume operations at all. May 9 Tr. at

99. If these assumptions are not met, the Cash Proforma does not contemplate any near-term

source of revenue or cash for the Debtors other than the cash collateral that is the subject of the

Emergency Cash Collateral Motion. The same is true of the Restart Cash Forecast, which is

presumably premised on the same assumptions as the Cash Proforma.

               8.     The Debtors do not have any binding offers for postpetition financing,

having apparently only opened their data room a week into the bankruptcy. May 23 Tr. at 72.

This is despite the obvious urgency and the precariousness of their cash position. The majority

shareholder is capable of providing additional funding but is apparently unwilling to do so. May

23 Tr. at 95. Though the Debtors are in discussions with a potential investor and another will

allegedly get back to them the weekend following the Second Hearing, the reluctance on the part

of any party to provide additional capital is presumably due to the same substantial questions and

contingencies that are assumed in the Cash Proforma. May 23 Tr. at 72; (“And they are looking

and asking questions. And we are very hopeful that we will get offers, even knowing that they

know what we have.”); May 23 Tr. at 94 (“So they – they are all asking so much questions, so –

“).



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                    9.         First, the Debtors must monetize crude oil on board the Armada Perdana

vessel that is currently the subject of a writ of attachment filed by Nigerian Agip Exploration

Limited (NAEL). May 9 Tr. at 99. In the near term, this requires successful removal of the writ

following a hearing which the Debtors alleged was initially scheduled for May 22, 2018, and

which has now been adjourned to July 6, 2018. May 9 Tr. at 99, 110; May 23 Tr. at 81. An

additional hearing is scheduled for the middle of June, though the Debtors’ witnesses have been

inconsistent as to precisely what that hearing is about. May 9 Tr. at 110, 118;2 May 23 Tr. at 91.3

                    10.        On information and belief, EPNL’s motion to set aside and vacate the writ,

which is pending before the Nigerian Federal High Court (the Vacatur Motion), is the only

litigation (i) dealing with the Debtors’ claim to ownership of the crude oil and (ii) in which the

Debtors have sought the discharge of the writ(s). The motion is opposed by NAEL, and was

postponed pending the outcome of an appeal before the Lagos Court of Appeal which took place

on May 24, 2018, to which neither of the Debtors are a party. The appeal does not include the

discharge of the writs and could take up to three months to finalise. Copies of the briefs of the

arguments raised at the appeal hearing are attached as Exhibits A and B.

                    11.        In addition, and on information and belief, the only matter pending in June

2018 is an ancillary matter before the Federal High Court of Abuja. This litigation, as before,

does not involve either of the Debtors and does not pertain to the writ(s) in issue. This much is

apparent from the briefs submitted by the parties to that litigation attached hereto as Exhibits C

and D.


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         Ms. Cross: I’m sorry, yes. Sorry. The hearing in the middle of June is to determine who the owner of the assets are. If they’re not
         Allied’s assets then they can’t attach to them. So they’re two different hearings. The one on the – in the middle of June is probably the
         more important hearing because it would determine who owns the assets versus whether not a piece of paper that was filed had all the
         appropriate identification on it.

         May 9 Tr. at 118.
3
         Mr. Bello: I mean, like I mentioned, I don’t believe that any one of these cases is addressing the ownership of the oil. So, none of the
         cases is addressing who owns the oil or who owns anything.

         May 12 Tr. at 91.

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               12.     Assuming that EPNL regains access to and establishes ownership of the

oil, it will also need to obtain an export permit from the Nigerian Department of Petroleum

Resources before the oil can be transferred or sold. May 9 Tr. at 99; May 23 Tr. at. 89-90. The

Debtors are also unclear as to how the pending litigations interact with the permit process,

though there is some suggestion that the litigations may have caused the delay. May 23 Tr. at 89-

90 (“There is a writ wrongfully attached to the assets, which might have caused the Nigerian

government to delay the issuance of the approval.”). This is mere conjecture, and it is not certain

that the resolution of the litigations will have any impact whatsoever on the permit approval

process. Conversely, it is also not certain whether obtaining the permit alone would be enough to

allow them to sell the oil if the writ remains outstanding.

               13.     The likely outcome of these challenges is by no means clear, and the

Debtors have placed no information before this Court to suggest that its claims will, ultimately,

succeed or what, if any, the likely prospects of success are.

               14.     On May 18, 2018, NAEL filed an emergency motion, seeking comfort that

the automatic stay will not prevent it from replying to or otherwise participating in the Vacatur

Motion. See Emergency Motion of Nigerian Agip Exploration Limited Pursuant to Section

105(a) of the Bankruptcy Code Seeking the Entry of an Order (I) Determining that the Automatic

Stay Does Not Apply to an Action Commenced by the Debtors or (II) Granting Alternative

Relief (the NAEL Stay Motion) [Dkt. No. 95]. The NAEL Stay Motion provides more detail on

the Nigerian proceedings and indicates that in addition to the writ that is the immediate subject of

the Vacatur Motion, the Nigerian courts will need to resolve more substantive questions as to

whether EPNL holds interests in the crude oil and the relevant Nigerian oil mining leases, as

opposed to an interest under a Production Sharing Contract. NAEL Stay Motion ¶ 12, 20. These

leases include Oyo Fields 7 and 8, which are the sole producing assets contemplated in the Cash

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Proforma. May 9 Tr. at 19 (“Within the oil mining lease there are some fields. The main field

that has been developed is the Oyo field, and we had production from Oyo 7 and Oyo 8.”); May

9 Tr. at 99 (“So this is really just based on the producing assets Oyo 8 and Oyo 7, I think 7, Oyo

8 and 7 and what they can produce and what the cost is to produce those.”). An order on the

NAEL Stay Motion was entered on May 23, 2018.

                  15.        Second, the Debtors must be able to use the cash proceeds from the sale of

the oil, which will be paid into an EPNL bank account maintained with, and subject to the

security interest of, Zenith Bank plc (Zenith). May 9 Tr. at 58. EPNL owes Zenith

approximately $78 million in total and payment into this account appears to be mandated by law.

May 23 Tr. at 85, 93. Zenith has filed papers asserting that it has security over all of EPNL’s

assets and that neither it nor EPNL, as Nigerian entities, should be subject to the jurisdiction of

this Court. See Sworn Affidavit of Facts of Mr. Bosah Okonyia, [Dkt. No. 38-1], ¶¶ 58, 63 (the

Zenith Affidavit) (“[T]he appropriate Court clothed with jurisdiction to hear any matter relating

to arrangement and compromise with creditors involving [EPNL] is the ‘Federal High Court of

Nigeria’ to the exclusion of any other Court.”). Zenith has declared EPNL’s loan to be in default

on various bases, including non-payment of principal and interest, failure to fund a debt service

reserve account, failure to institute hedge protection, and the imposition of the writ by NAEL.

Zenith Affidavit ¶¶ 22-37. The Debtors’ witnesses have been inconsistent as to whether Zenith

has commenced foreclosure proceedings. May 9 Tr. at 91;4 May 23 Tr. at 85.5



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       Ms. Cross: Just the amount of time that we’ve had to put it together. I think that and also, you know, there have been a number of
       filings during the week that have made it more complicated for us to actually put together a forecast. Anything from all of the sudden
       having Zenith start foreclosure proceedings . . .

       May 9 Tr. at 91.
5
       Mr. Foxman: And have [Zenith] commenced collection actions towards the debtor’s assets?
       Mr. Bello: No.
       Mr. Foxman: They have not commenced any.
       Mr. Bellow: No.

       May 23 Tr. at 85.

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               16.    The Debtors therefore acknowledge that gaining access to any sale

proceeds would require them to “come to some agreement with Zenith for the use of cash

proceeds or some kind of adequate protection payments.” May 9 Tr. at 99-100. This may require,

at a minimum, that they reinstate the facility by paying Zenith the amount past due of $7 million,

as contemplated in Week 8 of the Restart Cash Forecast. May 23 Tr. at 93 (“What needs to be

done with Zenith is to get the facility current and get the loan to be a performing loan again.”).

But even this would require Zenith to make a concession to the Debtors, as Zenith would

presumably be entitled to demand the entire $78 million due on the basis of the numerous prior

events of default under its facility. Zenith Affidavit ¶¶ 22-37. Zenith has also seemingly

appeared in the Nigerian proceedings in relation to NAEL’s writ. Zenith Affidavit ¶ 51.

               17.    Third, the Debtors must retain the use of the Armada Perdana, the offtake

vessel currently chartered by EPNL, or find a replacement offtaker. May 9 Tr. at 100. As to the

Armada Perdana, the Debtors are not currently paying any of the maintenance expenses required

under either their charter agreement with Armada Oyo Limited (Armada) or their services

agreement with Bumi Armada (Singapore) Pte Ltd. (BASPL and, together with Armada, Bumi)

and appear to be in substantial arrears under these agreements (the Agreements). May 9 Tr. at

115, 117. On May 14, 2018, Bumi filed motions seeking relief from the automatic stay and to

compel the Debtors to assume or reject their contracts. See Motion for Relief from Stay (the Lift

Stay Motion) [Dkt. No. 69]; Motion to Compel Assumption or Rejection of Executory Contracts

(the Assumption or Rejection Motion and, together with the Lift Stay Motion, the Bumi

Motions) [Dkt. No. 71]. In the Lift Stay Motion, Bumi alleges that the Debtors abandoned the

vessel and withdrew all essential support services, including offshore support vessels with food,

water, and spare parts, thereby endangering the vessel and its crew. Lift Stay Motion ¶¶ 21-26. In

addition to a $132,000 Daily Compensation Fee to which Armada is entitled, Bumi currently

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provides these services at an estimate cost of $33,000 per day. Lift Stay Motion ¶ 27. The

monthly accrual of amounts owed to Bumi could therefore be as much as $5.1 million, with the

amount attributable to critical support services alone, which presumably cannot be waived or

altered, being approximately $1 million. Id. Moreover, in its Assumption or Rejection Motion,

Bumi estimates that the Debtors are in arrears in excess of $128 million and would need to pay

that amount as a cure payment in connection with the assumption of the relevant contracts.

Assumption or Rejection Motion ¶ 2. If the Debtors reject their agreements with Bumi and seek

replacement offtake services at a market rate, the projected costs will presumably increase, as the

$1.8 million per month for “FPSO Vessel Charter Expense” in the Cash Proforma and the Restart

Cash Forecast is apparently based on a temporary arrangement between EPNL and Bumi. Lift

Stay Motion ¶ 16.

               18.     At the Second Hearing, the Debtors and Bumi announced a “resolution” of

the Bumi Motions and, later that day, filed an agreed order setting forth the terms of their

agreement, Dkt. No. 117 (the Agreed Order). The key terms of the agreement include the

Debtors’ payment of $2.5 million to Bumi in two installments beginning no later than May 30,

2018, and the funding of an escrow account with an additional $200,000 to pay certain estimated

demobilization expenses if and when the Armada Perdana departs. Agreed Order ¶¶ 1, 5. As the

Debtors have no funds, these amounts will be paid entirely out of PIC’s cash collateral, and

indeed the timing of the first installment is keyed off of the entry of an order granting the

Emergency Cash Collateral Motion. Agreed Order ¶ 1. Under the Agreed Order, the failure to

pay either installment, or voluntary termination by the Debtors, will result in the rejection of the

Agreements, the termination of any and all interests of the Debtors in and to the Armada

Perdana, and the lifting of the automatic stay without further notice or hearing to allow Bumi to

demobilize the vessel. Agreed Order ¶ 3. Even if both installments are paid, these events will

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also occur at Bumi’s sole option on or after July 31, 2018, unless Bumi agrees otherwise. Agreed

Order ¶ 4. In the meantime, the stay is lifted to the extent necessary to allow Bumi to prepare to

demobilize the vessel. Agreed Order ¶ 2.

II.    The Debtors’ Litigation Against PIC

               19.     On May 22, 2017, the Debtors’ filed their Supplemental Reply in support

of the Emergency Cash Collateral Motion, Dkt. No. 107 (the Supplemental Reply). In the

Supplemental Reply, they allege various bad acts on the part of PIC that purportedly led to their

present financial distress by impairing their ability to draw on the facility provided by MCB (the

MCB Facility). Supplemental Reply ¶¶ 5-9.

               20.     These allegations are the subject of pending litigation that ERN and EPNL

commenced against PIC in the Supreme Court for New York County. Erin Energy Corporation

and Erin Petroleum Nigeria Limited v. Public Investment Corporation Soc Ltd., No.

650436/2018 (Sup. Ct. N.Y. Cnty. January 26, 2018) (the New York Litigation). PIC has filed a

motion to dismiss. New York Litigation, Dkt. No. 18. At the request of the Debtors, the motion

to dismiss has been adjourned to December 4, 2018. New York Litigation, Dkt. No. 47.

               21.     Needless to say, the Court should give no weight to the Debtors’ attempt

to introduce, in the context of a cash collateral motion, matters that are the subject of pending

litigation that they themselves commenced in another court and then sought to adjourn. PIC

nevertheless notes that Erin’s financial distress and inability to service its debt obligations began

well before any of the events alleged in the New York Litigation. This much is clear on the face

of Erin’s Form 10-Q for the quarterly period ended June 30, 2017 attached hereto as Exhibit E

(the 10-Q) and Amended Form 10-K for the fiscal year ended December 31, 2017, attached

hereto as Exhibit F (the 10-K).



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               22.     As set out in the 10-Q, as of June 30, 2017, Erin (i) had incurred losses for

the preceding three and six months, and had a working capital deficit of $280.7 million (10-Q pg.

12); (ii) was already experiencing shutdowns in its wells, including as a result of a dispute in

relation to the Armada Perdana (10-Q pg. 12); (iii) was already in default under the MCB

Facility, due to the failure to make principal and interest payments due on June 30, 2017, as well

as a vendor’s commencement of litigation against a wholly-owned Erin subsidiary seeking $ 10

million (10-Q pgs. 16, 34); and (iv) acknowledged its inability to generate sufficient cash from

operations to satisfy certain obligations as they became due, relying instead on draws under the

MCB Facility and short-term loans from a related party for funding (10-Q pg. 34). Further, the

drawdown period for the MCB Facility, as well as the grace period for repayment, ended already

on June 30, 2017 (10-Q pg. 15). Upon information and belief, Erin has not successfully

negotiated an extension with MCB.

               23.     As set out in the 10-K, as of December 31, 2017, (i) the amount drawn

under the MCB Facility was $ 65.6 million, with accrued interest and unused commitment fees

of approximately $ 1 million (10-K pg. 37); (ii) Erin had only paid $0.1 million towards principal

repayment of the MCB Facility (10-K pg. 37); and (iii) Erin was not in compliance with various

financial ratios required under the MCB Facility (10-K pg. 37).

                                          ARGUMENT

I.      Section 1112(b) Requires Dismissal or Conversion Where “Cause” is Demonstrated

               24.     Section 1112(b) of the Bankruptcy Code provides that a court shall

dismiss a bankruptcy case, or alternatively convert a chapter 11 case to one under chapter 7, if a

party in interest establishes cause, absent unusual circumstances under which conversion is not in

the best interests of creditors or the estate. 11 U.S.C. § 1112(b). Specifically, section 1112(b)(1)

states that:

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               Except as provided in paragraph (2) of this subsection, subsection (c) of this
               section, and section 1104(a)(3), on request of a party in interest, and after notice
               and a hearing, absent unusual circumstances specifically identified by the court
               that establish that the requested conversion or dismissal is not in the best interests
               of creditors and the estate, the court shall convert a case under this chapter to a
               case under chapter 7 or dismiss a case under this chapter, whichever is in the best
               interests of creditors and the estate, if the movant establishes cause.

11 U.S.C. § 1112(b)(1).

               25.     Section 1112(b) of the Bankruptcy Code is intended to help creditors

avoid the delay and costs associated with a reorganization process in cases where the prospects

of an actual reorganization are slim. See In re Woodbrook Assocs., 19 F.3d 312, 317 (7th Cir.

1994) (“Creditors . . . need not incur the added time and expense of a confirmation hearing on a

plan they believe cannot be effectuated . . . The very purpose of § 1112(b) is to cut short [the]

plan and confirmation process where it is pointless.”) (internal citations omitted).

               26.     Courts have consistently held that dismissal or conversion is the optimal

relief for creditors when the debtor has no cash-generating business to potentially increase the

amount available for distribution. See In re Johnston, 149 B.R. 158, 162 (B.A.P. 9th Cir. 1992);

In re Blixseth, 2009 WL 1525994, at *5 (Bankr. D. Mont. May 29, 2009); In re Fisher, 2008 WL

1775123, at *12 (Bankr. D. Mont. 2008).

A.     PIC is a “Party in Interest” With Standing to Request Dismissal or Conversion

               27.     PIC, as a secured creditor under the MCB Facility and the holder of

approximately 30% of the equity in ERN, is a “party in interest” with standing to request

conversion. See 11 U.S.C. § 1109(b) (a “party in interest” includes a “creditor” and an “equity

security holder”); In re Johnston, 149 B.R. at 161 (“[A] creditor has standing to request the

conversion from Chapter 11 to Chapter 7 pursuant to § 1112(b).”); In re Orchard at Hansen

Park, LLC, 347 B.R. 822, 825 (Bankr. N.D. Tex. 2006) (“[A]ll persons whose pecuniary

interests are directly affected by the bankruptcy proceedings” are parties in interest.).

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B.     “Cause” Exist Where the Debtors Have No Operations

               28.    The Bankruptcy Code enumerates sixteen non-exclusive examples of

cause to dismiss or convert a case. 11 U.S.C. § 1112(b)(4). Generally, each of these examples

describes a situation in which it would be “unlikely that the benefits of reorganization will be

achieved within a reasonable amount of time or at an acceptable cost.” 7 COLLIER                 ON

BANKRUPTCY, ¶1112.04[3] at 1112-24 (15th ed. rev'd 2007). The list of examples is not

exhaustive and courts may find cause for other equitable reasons. See In re Irasel Sand, LLC,

569 B.R. 433, 439 (Bankr. S.D. Tex. 2017); In re Strug-Division, LLC, 375 B.R. 445, 448

(Bankr. N.D. Ill. 2007); see also Matter of Koerner, 800 F.2d 1358, 1367 (5th Cir. 1986)

(holding that “in acting upon a request for conversion, the bankruptcy court is afforded wide

discretion”); United Savs. Ass'n of Tex. v. Timbers of Inwood Forest Assocs., Ltd. (In re Timbers

of Inwood Forest Assocs., Ltd.), 808 F.2d 363, 371–72 (5th Cir. 1987) (en banc) (“The inquiry

under § 1112 is case-specific, focusing on the circumstances of each debtor.”).

               29.    Section   1112(b)(4)(A)    expressly provides     that      “cause”   includes

“substantial or continuing loss to or diminution of the estate and the absence of a reasonable

likelihood of rehabilitation.” 11 U.S.C. § 1112(b)(4)(A). To satisfy this standard, “the moving

party must demonstrate that there is both (1) a substantial or continuing loss to or diminution of

the estate and (2) the absence of a reasonable likelihood of rehabilitation.” In re TMT

Procurement Corp., 534 B.R. 912, 919 (Bankr. S.D. Tex. 2015) (citing In re Creekside Sr.

Apartments, L.P., 489 B.R. 51, 61 (6th Cir. BAP 2013)).

1.     There is a Substantial and Continuing Loss to the Estates.

               30.    Section 1112(b)(4) requires the demonstration of loss that is either

“substantial” or “continuing.” Creekside, 489 B.R. at 61 (citing 7 COLLIER        ON   BANKRUPTCY,

¶1112.04[6][a][i] (16th ed. 2014) (hereinafter COLLIER)). A loss is “substantial” if it is

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“sufficiently large given the financial circumstances of the debtor as to materially negatively

impact the bankruptcy estate and interest of creditors.” TMT, 534 B.R. at 919 (citing COLLIER

¶1112.04[6][a][i]). To determine whether there is a “continuing loss,” a court must “look beyond

a debtor's financial statements and make a full evaluation of the present condition of the estate.”

Irasel, 569 B.R. at 441 (quoting In re Moore Construction, Inc., 206 B.R. 436, 437–38 (Bankr.

N.D. Tex. 1997)).

               31.    This prong may be satisfied by “demonstrating that the debtor suffered or

has continued to experience a negative cash flow or declining asset values following the order

for relief.” TMT, 534 B.R. at 918. See also Irasel, 569 B.R. at 440 (citing TMT, 534 B.R. at 918);

Loop Corp. v. U.S. Trustee, 379 F.3d 511, 515-516 (8th Cir. 2004) (“Under the interpretation of

§ 1112(b)(1) consistently used in bankruptcy courts, negative cash flow alone is sufficient to

establish ‘continuing loss to or diminution of the estate.’”); COLLIER ¶1112.04[6][a]

(“[1112(b)(4)(A)] tests whether, after the commencement of the case, the debtor has suffered or

continued to experience a negative cash flow, or, alternatively, declining asset values.”); In re

Kanterman, 88 B.R. 26, 29 (S.D.N.Y. 1988) (“All that need be found is that the estate is

suffering some diminution in value”).

               32.    As it stands, it is abundantly clear that the Debtors currently suffer

negative cash flow. The Debtors have no operations or revenues. Pending favorable

developments in Nigerian litigation (which are unlikely in the short term, if at all) and the

successful resolution of a series of other substantial contingencies, the Debtors rely entirely on

the use of cash collateral to stay alive and fund the significant expenses set forth in the various

budgets they have submitted.

               33.    The No Restart Cash Forecast indicates that the Debtors will have no cash

flow unless and until they are able to resume operations in Nigeria. May 9 Tr. at 92-93 (“Well

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Exhibit 13 is the cash forecast for Erin Energy if we do not start up the Nigerian operations

again.”). In that scenario, the only cash available will be the $10 million in cash collateral that is

the subject of the Emergency Cash Collateral Motion. Even then, the Debtors expect that the vast

majority of this amount will be dissipated by August 24, 2018.

               34.     The Cash Proforma and the Restart Cash Forecast demonstrate that the

Debtors expect to have positive cash flow if they prevail against NAEL, obtain a permit from the

Nigerian Department of Petroleum Resources, access and monetize the crude oil on the Armada

Perdana, convince Zenith to relinquish the proceeds, and resume operations at the Oyo Field.

May 9 Tr. at 113.

               35.     Not only do the Debtors require all of these contingencies to be resolved

in their favor, but the Cash Proforma and the Restart Cash Forecast also understate the rate at

which the Debtors will actually need to use their cash. In addition to the exclusion of certain

capital expenditures, the cost of chartering and operating an offtake vessel, which is already

expected to be one of the largest recurring expenses, will in all likelihood be significantly greater

than currently projected. The Debtors acknowledge that they are not currently paying Bumi for

any of the expenses necessary to maintain and protect the crew, the vessel, or the environment,

which amount to $33,000 per day. May 9 Tr. at 115, 110; Lift Stay Motion ¶ 27. Nor do the

Debtors account for additional daily fees of $132,500 or the cure payment that would need to be

made to these parties to retain the benefits of the existing charter. Lift Stay Motion ¶ 27. Whether

$111 million (the amount indicated at the Interim Hearing), $128 million (the amount indicated

in the Lift Stay Motion), or an entirely different number altogether, there is very substantial

arrearage that remains unaccounted for that could consume all or a substantial proportion of the

total projected receipts for 2018. May 9 Tr. at 117; Lift Stay Motion ¶ 27; Cash Proforma;

Restart Cash Forecast. Even absent assumption of these arrangements and the need for cure,

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there is a substantial risk of an allowed administrative claim that would render these estates

administratively insolvent. Indeed, the Debtors and Bumi have already agreed to pay Bumi $2.7

million, which the parties characterize as “partial satisfaction of the amounts owed to Bumi

under the Agreements,” and Bumi expressly reserves all rights to assert administrative or other

claims against the Debtors. Agreed Order ¶ 7. Rejection of the Agreements would require the

Debtors to find replacement offtake services at a market rate, whereas the $1.8 million per month

for “FPSO Vessel Charter Expense” in the Cash Proforma and Restart Cash Forecast appears to

be a temporary concession that expired on May 6, 2017. Lift Stay Motion ¶ 16.

               36.     Nor have the Debtors consistently explained those expenses that they have

budgeted. In the Cash Proforma, one of the largest near term expenses was a $1.6 million initial

payment for directors and officers liability insurance, together with monthly payments thereafter.

The Debtors’ witnesses were unable to offer any information as to whether any claims have

already been asserted against the directors and officers of the Debtors and what the nature of

those claims might be. May 23 Tr. at 94. The Debtors’ counsel was also only able to obtain one

of the three policies in the two weeks following the Interim Hearing, at which questions about

the insurance were specifically raised by the Court. May 23 Tr. at 24; May 9 Tr. at 119. While

the $1.6 million expense has been removed from the No Restart Cash Forecast and the Restart

Cash Forecasts, the monthly payments remain.

               37.     The Debtors therefore have substantial and continuing expenses that are

not currently being mitigated by any revenues whatsoever and will likely consume all available

cash within a matter of months. In the circumstances, allowing these cases to stay in chapter 11

will only result in the accrual of costs that diminish the value of these estates to the detriment of

all parties in interest. Section 1112(b)(1) is intended to prevent exactly this result. Loop Corp.,

379 F.3d at 516 (“The purpose of § 1112(b)(1) is to ‘preserve estate assets by preventing the

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debtor in possession from gambling on the enterprise at the creditors' expense when there is no

hope of rehabilitation.’”) (quoting In re Lizeric Realty Corp., 188 B.R. 499, 503 (Bankr.

S.D.N.Y. 1995)); TMT, 534 B.R. at 922 (“If the Court were presented with a situation where the

estates continued to accumulate substantial losses to the detriment of the creditors, and if that

accumulation could be avoided by conversion to chapter 7, conversion would be an appropriate

remedy”).

2.     There is No Reasonable Likelihood of Rehabilitation

               38.     Section 1112(b)(4) also requires a demonstration that there is no

reasonable likelihood of “rehabilitation.” “Rehabilitation” is not simply a question of whether a

debtor can confirm a plan, but whether “the debtor’s business prospects justify continuance of

the reorganization effort.” TMT, 534 B.R. at 920 (quoting In re LG Motors, Inc., 422 B.R. 110,

116 (Bankr. N.D. Ill. 2009)). In other words, it refers to a “debtor's ability to restore the viability

of its business.” Loop Corp., 379 F.3d at 516 (citing In re Gonic Realty Trust, 909 F.2d 624, 626

(1st Cir. 1990)).

               39.     The Debtors do not have a reasonable likelihood of rehabilitation. They

have no operations, revenues, or cash, and their prospects turn not on the viability of their

business plan or on any actual restructuring, but on the resolution of their various disputes with

each of NAEL, Bumi, and Zenith. These disputes will determine, among other things, whether

the Debtors have the right to sell the oil on the Armada Perdana, whether the Debtors have the

right and ability to obtain and sell more oil in the future, and even whether the Debtors will have

access to any sale proceeds. The Debtors’ likelihood of rehabilitation is little more than

speculation as to whether they will prevail on all of these things, which is not a basis to allow

these cases to continue. See Quarles v. U.S. Tr., 194 B.R. 94, 97 (W.D. Va. 1996) (“The

evidence suggests that the appellant has continued to experience negative monthly cash flow, and

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the appellant's premise that outcomes in pending litigation favorable to him will cure his

financial ills is pure speculation.”); In re Cont'l Holdings, 170 B.R. 919, 931 (Bankr. N.D. Ohio

1994) (finding that there was no likelihood of rehabilitation when debtor lacked a reasonably

certain source of income); In re Great Am. Pyramid Jt. Venture, 144 B.R. 780, 791 (Bankr. W.D.

Tenn. 1992) (“When visionary schemes for rehabilitation entail significant risk to creditors

without any reasonable probability that the debtor can successfully rehabilitate, conversion or

dismissal is generally in order.”).

               40.     Moreover, the Debtors have operated with questionable judgment even

before these bankruptcies were filed. As alleged in the Lift Stay Motion, EPNL abandoned not

only its operations on the Armada Perdana, but also the personnel on board, withdrawing critical

support services necessary to provide the vessel with supplies and protection. Lift Stay Motion

¶¶ 21-26. These actions left the vessel exposed to pirates and other maritime risks with no means

of immediate support in case of medical, security, or environmental emergency. Id. Nor is

EPNL, by its own admission, currently paying for any of the maintenance expenses for the

vessel, which are borne by Bumi. May 9 Tr. at 115. Thus, even though EPNL seeks to release

and monetize the crude oil on the Armada Perdana, and proposes future production premised on

the use of the vessel or a replacement, it had no intention of fulfilling any of its obligations

relating thereto until Bumi sought to lift the stay and EPNL, driven into a corner, proposed to

buy more time with cash collateral. This cavalier attitude towards the safety of crew and the

preservation of critical corporate assets is not consistent with a legitimate attempt at

rehabilitation. Rather, it is consistent with the notion that the Debtors have filed these cases in

order to stall for time while they gamble on legal developments in Nigeria.

               41.     PIC is also concerned that even if these bankruptcy cases resulted in a plan

being confirmed, a highly speculative outcome, the international nature of the assets and other

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foreign creditors would pose repeated and ultimately insurmountable barriers to enforcement.

Creditors such as PIC who have respected the Court’s jurisdiction would be irreparably harmed

by those who ignored it, creating a situation where these bankruptcy cases and their costs are

meaningless and value destructive.

               42.     Accordingly, cause for dismissal or conversion exists under section

1112(b)(4)(A) of the Bankruptcy Code.

C.     Dismissal or Conversion is in the Best Interests of the Debtors’ Remaining Creditors.

               43.     Upon a showing of “cause,” Section 1112(b) provides that the court shall

convert or dismiss a case unless it “finds and specifically identifies unusual circumstances

establishing that converting or dismissing the case is not in the best interests of creditors and the

estate.” 11 U.S.C. § 1112(b)(2). Put another way, “the case should be converted or dismissed

unless unusual facts and circumstances demonstrate that the purposes of chapter 11 would be

better served by maintaining the case as a chapter 11 proceeding.” In re Prod. Int'l Co., 395 B.R.

101, 109 (Bankr. D. Ariz. 2008) (citing COLLIER ¶1112.04[3]).

               44.     No such unusual circumstances exist here. The Debtors currently have

neither cash nor a means to operate their business and generate revenue, and are hostage not only

to developments in courts other than this one, but to parties, such as Bumi and Zenith, which

exert almost total control over the Debtors’ future prospects. This is amply demonstrated by the

Debtors’ willingness to pay Bumi $2.7 million for only sixty more days of life, during which

Bumi may continue preparations to demobilize the vessel. And if the parties do not come to

some further agreement by July 31, 2018, which will presumably entail more payments, Bumi

will be free to simply take the Armada Perdana and go, depriving the Debtors of offtake services

and essentially spelling doom for whatever notion of rehabilitation in these cases. Continuing

this case in chapter 11 will result in the accrual of unnecessary expenses to the Debtors’ estate,

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which will be beneficial to no one, and in fact will be harmful to creditors. See In re Johnston,

149 B.R. at 162; In re Blixseth, 2009 WL 1525994, at *5; In re Fisher, 2008 WL 1775123, at

*12. Nor is a bankruptcy court prohibited from granting a motion to dismiss or convert early in a

case where the circumstances warrant. See In re Johnston, 149 B.R. at 162 (“However, where

there is no reasonable possibility of an effective reorganization, the bankruptcy court is not

compelled to wait a certain period of time, to the detriment of creditors, before ordering

conversion of the case.”); In re Economy Cab & Tool Co. Inc., 44 B.R. 721, 724 (Bankr. D.

Minn. 1984) (Chapter 11 case may be converted in early stages of proceeding where movant can

show that there is “no more than a ‘hopeless and unrealistic prospect’ of rehabilitation”).

II.    Abstention or Dismissal is Appropriate under Section 305(a)(1)

               45.     The Court may also dismiss these cases under section 305(a)(1) of the

Bankruptcy Code, which empowers a court to “dismiss a case” or “suspend all proceedings” if

“the interests of creditors and the debtor would be better served by such dismissal or

suspension.” 11 U.S.C. § 305(a)(1). Courts have recognized that section 305(a)(1) reflects a

recognition by Congress that “in certain cases it may be appropriate for a bankruptcy court to

decline jurisdiction.” In re Argus Grp. 1700, Inc., 206 B.R. 737, 755 (Bankr. E.D. Pa. 1996),

aff'd sub nom., Argus Grp. 1700, Inc. v. Steinman, 206 B.R. 757 (E.D. Pa. 1997).

               46.     Courts consider multiple factors, as well as the totality of the

circumstances, when assessing whether the interests of the debtor and creditors would be better

served by a dismissal or suspension. In re Tex. EMC Mgmt., LLC, 2012 WL 627844, at *3

(Bankr. S.D. Tex. Feb. 24, 2012). These factors include: (1) the economy and efficiency of

administration; (2) whether another forum is available to protect the interests of both parties or

there is already a pending proceeding in state court; (3) whether federal proceedings are

necessary to reach a just and equitable solution; (4) whether there is an alternative means of

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achieving an equitable distribution of assets; (5) whether the debtor and the creditors are able to

work out a less expensive out-of-court arrangement which better serves all interests in the case;

(6) whether a non-federal insolvency has proceeded so far in those proceedings that it would be

costly and time consuming to start afresh with the federal bankruptcy process; and (7) the

purpose for which bankruptcy jurisdiction has been sought. Id. Not all are given equal weight in

every case and the court should not conduct a strict balancing. In re Acis Capital Mgmt., L.P.,

No. 18-30264-SGJ-7, 2018 WL 1801231 (Bankr. N.D. Tex. Apr. 13, 2018) (citing In re Monitor

Single Lift I, Ltd., 381 B.R. 455, 467 (Bankr. S.D.N.Y. 2008)).

               47.     A number of these factors are relevant here. It is abundantly clear that the

Debtors’ future prospects ultimately turns on developments in pending litigation in Nigeria in

relation to property in Nigeria, not before this Court in relation to property in the United States.

Their principal dispute is seemingly with NAEL, a Nigerian party, concerning oil mining leases

and crude oil in Nigeria, the ownership of which is contested and subject to further litigation in

Nigeria to which the Debtors are not a party. While it remains unclear how the Debtors could

prevail against NAEL, if for whatever reason they do, and thereafter manage to sell oil for their

benefit, the proceeds will be delivered to, and subject to the liens of, Zenith, which may not

respect the jurisdiction of this court and has asserted that EPNL, as a Nigerian entity, should be

subject to insolvency proceedings in Nigeria. Indeed, Zenith has already appeared in the

Nigerian proceedings and the Debtors are unable to offer any view as to whether Zenith, or

indeed creditor constituents generally, would respect the automatic stay. May 23 Tr. at 85. The

fact that the Debtors have abandoned any effort to use cash collateral on deposit with Zenith,

which they originally sought in the Emergency Cash Collateral Motion, and have budgeted a

payment of $7 million to Zenith in the Restart Cash Forecast to make the Zenith facility current,

indicates that the answer to this question may be “no.” May 23. at 93. Dismissal is therefore

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warranted by the fact that none of the key parties, assets, or proceedings that bear on the actual

question of rehabilitation are located in the United States. See In re Northshore Mainland

Services, Inc., 537 B.R. 192, 206 (Bankr. D. Del. 2015) (dismissing case because creditors would

have expected insolvency proceedings to take place in Bahamas, the pursuit of the US cases

would only generate additional litigation, and the central focus of the case was an unfinished

project in the Bahamas); Texas EMC Mgmt., LLC, 2012 WL 627844, at *3 (“Even if this court

were to permit the instant cases to continue, it is likely that the questions of ownership and/or

distribution of assets would be required to be resolved in litigation.”).




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                                         CONCLUSION

               For the foregoing reasons, PIC respectfully requests that this Court enter an order

dismissing the above-captioned cases or, alternatively, converting them to cases under chapter 7,

and granting such further relief as it deems just and proper.

Dated: May 28, 2018
Houston, Texas

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 28, 2018, a true and complete copy of the foregoing was

served upon filing via the Court’s CM/ECF electronic system on all parties subscribing thereto.

                                                           /s/ Bradley R. Foxman
                                                           Bradley R. Foxman




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